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CASE CAPTION: _ UNITED STATES OF AMERICA V. WESLEY DAVID GILREATH

CASE NO.: __1:19-cr-00384-RM ___________________

EXHIBIT LIST OF: __ GOVERNMENT _____________
                       (Name and Party Designation)



 Exhibit             Witness                            Brief Description                       Stipulati   Offered   Admitted   Refused   Court Use
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                                     Direct messages between Defendant and Twitter user -5152
 1         SA Adam Krob
                                     Direct messages between Defendant and Twitter user -8336
 2         SA Adam Krob
                                     Direct messages between Defendant and Twitter user -6928
 3         SA Adam Krob
                    Case 1:19-cr-00384-RM Document 65 Filed 09/02/20 USDC Colorado Page 2 of 2



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